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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DISTRICT

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )
                                              )      No. 4:19-CR-00116-JMB
KENNETH A. GROOMS, II                         )
                                              )
                                              )
                       Defendant.             )

     GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
               MODIFY CONDITIONS OF PRETRIAL RELEASE

        Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

United States Attorney for the Eastern District of Missouri, and Jennifer A. Winfield, Assistant

United States Attorney for said District, and files its response to defendant’s Motion to Modify

Conditions of Pretrial Release. For its response, the Government states the following:

     1. The defendant is employed as a police officer with the St. Louis Metropolitan Police
        Department (“SLMPD”).

     2. On February 13, 2019, the defendant was charged with a misdemeanor civil rights violation
        pursuant to Title 18 U.S.C. § 242.

     3. On February 19, 2019, the defendant was arrested and the United States Pretrial Office
        prepared a bail report. The Pretrial officer recommended a personal recognizance bond,
        along with several conditions to reasonably assure the defendant’s appearance and the
        safety of the community. The government did not seek detention in this matter.

     4. Following, the defendant appeared before this Honorable Court, and he was released on a
        bond with several standard conditions, and some additional conditions. (Doc. 7)

     5. One of the additional bond conditions was: (7)(k) that the defendant not possess a firearm,
        destructive device, or other weapon. The defendant was not required to participate in any
        of the location restriction programs.

     6. The defendant made no objection to any of the bond conditions imposed by this Court at
        the time of his release.
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7. On February 27, 2019, the defendant was arraigned and made an oral motion to remove
   the bond condition that he not possess a firearm. The basis for this motion was that because
   he is a SLMPD officer and his case has been publicized, he and his family are vulnerable
   to those who may desire to harm them. However, the defendant did not provide any case
   law to support his motion, nor did he proffer any instance where the defendant or his family
   had been threatened with harm by any individual after the filing of the instant charge.

8. On that same day, the defendant filed a written motion regarding modification of his bond,
   specifically requesting that he be allowed to retain his firearm in order to protect his family
   and defend himself.

9. The defendant is still employed by the SLMPD and he is currently on administrative duty,
   i.e. non-patrol duty. Therefore, as the defendant is not patrolling St. Louis City, he has no
   need for his gun, as during his shift he sits at a desk in the SLMPD communications
   department.

10. Title 18 U.S.C. §3142(g) provides that in imposing conditions of pretrial release, the court
    may consider the nature and circumstances of the offense charged and the weight of the
    evidence against the person.

11. Title 18 U.S.C. §3142(c)(1)(B) provides that if the defendant is not detained pending trial,
    the judicial officer shall order the pretrial release of the defendant “subject to the least
    restrictive further condition, or combination of conditions, that such judicial officer
    determines will reasonably assure the appearance of the person as required and the safety
    of any other person and the community.” The conditions may include that the defendant
    refrain from possessing a firearm, destructive device, or other dangerous weapon. Title 18
    U.S.C. §3142(c)(1)(B)(viii).

12. If the Court orders a hearing in this matter pursuant to 18 U.S.C.§3142(c)(3) to reconsider
    the imposition of the firearms condition, the information the defendant has presented does
    not have a material bearing on his need to possess a firearm considering the current charge.
    The information as outlined in defendant’s motion does not constitute “truly changed
    circumstances, something unexpected, or a significant event,” which would support the
    defendant being allowed to walk around with a weapon while he has a federal charge
    pending against him involving his violation of a citizen’s civil rights.

13. The Government is prepared to present evidence of the victim’s fear of the defendant and
    the defendant’s current access to computer databases and investigative processes, which
    might allow the defendant opportunities to find the victim. In addition, the Government is
    prepared to present evidence that during the instant offense, after the defendant seized the
    victim, arrested him, and removed him from the vicinity of any witnesses, the defendant
    berated the victim while the defendant’s hand was on his gun during the incident. This
    evidence would tend to establish a genuine concern for the safety of the victim, thus
    justifying the present restriction on the defendant’s possession of firearms.
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        WHEREFORE, as the aforementioned bond condition was imposed in order to assure the
safety of the victim and members of the community, the Court should deny the Defendant’s motion
to modify his conditions of bond, or in the alternative hold a hearing prior to ruling.


                                              Respectfully submitted,

                                              JEFFREY B. JENSEN
                                              United States Attorney


                                                 /s/ Jennifer A. Winfield      .
                                              JENNIFER A. WINFIELD, #53350MO
                                              Assistant United States Attorney
                                              111 S. Tenth Street, 20th Floor
                                              St. Louis, Missouri 63102
                                              (314) 539-2200


                                  CERTIFICATE OF SERVICE
        I hereby certify that on March 6, 2019, the foregoing was filed electronically with the Clerk
of the Court to be served by operation of the Court’s electronic filing system upon counsel of
record.


                                                 /s/Jennifer A. Winfield       .
                                              JENNIFER A. WINFIELD, #53350MO
                                              Assistant United States Attorney
